     Case: 1:19-cr-00302 Document #: 11 Filed: 04/18/19 Page 1 of 1 PageID #:37



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
               Plaintiff,                        )
                                                 )       No. 19 CR 00302-1
               v.                                )
                                                 )       Judge John J. Tharp, Jr.
MICHAEL P. GANNON,                               )
                                                 )
               Defendant.
                                                 )

                                             ORDER

Arraignment held on 4/18/2019. William Kenneth Hedrick appears as counsel for defendant.
Defendant waives Indictment. Defendant informed of his rights and the charges pending against
him. Defendant enters a plea of guilty to the Information. The Court enters judgment of guilty. A
status hearing is set on July 17, 2019 at 9:00 a.m. A sentencing hearing date will be set on a later
date. The parties’ joint oral motion to seal Attachment A to the plea agreement is granted; the
Clerk is directed to maintain Attachment A to the plea agreement under seal. Enter Order Setting
Conditions of Release and Appearance Bond. Defendant is admonished to comply with all terms
and conditions of release; any violations may result in revocation of bond.


                                                             ______________________________
Dated: April 18, 2019                                        John J. Tharp, Jr.
                                                             United States District Judge




                                                 1
